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IN THE UNITED sTATEs DIsTRIcT coURT *"'“~E@Y‘ f"-'..>.F~,{.D.C.
son THE wESTERN DISTRICT oF TENNESSEE '
WESTERN DIVISION 65 JUL 25 pH 15 07
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L': !h il _’J? COUI:`|’?
wILLIAM JENNINGS , s ir?:¢’»)'?i §

Plaintiff,

vs. No. 05-2342~B/V

STAR TRUCK & TRAILER SALES,
INC., et al.,

Defendants.

>-<>-<>-<>-<>-<><>-<>'<>-<><>-C>-<

 

ORDER DENYING LEAVE TO PROCEED l_ FORMA PAUPERIS
AND
ORDER TO SHOW CAUSE

 

 

Plaintiff Willianl Jennings filed a pro _§e complaint
pursuant to the Racketeer Influenced and Corrupt Organizations Act
(“RICO”), 18 U.S.C. § 1961 et §§g;, on May 6, 2005, along with an
application seeking leave to proceed in fg;ma pauperis. As
plaintiff paid the $250 civil filing fee on June 23, 2005, the in
;g;mg pauperis motion is DENIED as moot. The Clerk shall record the
defendant as Star Truck and Trailer Sales, Inc. (“Star”),
Associates Commercial Corporation (“Associates”), CitiCapital
Commercial Corporation (“CitiCapital”), Douglas C. Bailey, Robert

Green, and Roger Stone.l Defendant Bailey is alleged to be the

 

1 Although the complaint also purports to sue an unnamed employee of
CitiCapital, service of process cannot be made on a fictitious party. Moreover,
the filing of a complaint against “John Doe” defendants does not toll the running
of the statute of limitation against those parties. §ge Cox v. Treadway, 75 F.3d
230, 240 (6th Cir. 1996); Bufalino v. Michiqan Bell TeleDhone Co., 404 F.2d 1023,

1028 {6th Cir. 1968). Thus, to the extent that plaintiff seeks to bring any
complaint against any other individual or entity, he must identify the defendant
(continued...)

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owner of defendant Star. Compl., 1 15. Defendant Green is an
attorney who represented defendants Star and Bailey in state-court
litigation involving the matters at issue here, and defendant Stone
represented defendant Associates and CitiCapital in that
litigation.

This case arises out of the plaintiff's purchase of an
over-the-road truck for his business of pulling trailers loaded
with goods in interstate commerce. In May, 2000, plaintiff told
defendant Bailey that he was interested in purchasing a 1998
Freightliner from defendant Star. ldi, 1 15. The parties allegedly
agreed on a purchase price of $46,500, and plaintiff paid $8000
down, which he obtained through a mortgage on his home. ld;, 11 18,
31. The remainder of the purchase price was financed by Associates,
;Qi, 11 27-32,2 which obtained a security interest in the tractor,
LQL, 1 45. The sale was consummated on May 18, 2000.

At the time of the sale, defendant Bailey allegedly
represented to plaintiff that the tractor was covered by a one

hundred thousand (100,000) miles factory warranty, id., 1 72, and

 

1 (...continued)
and file a new lawsuit within the applicable statute of limitations.

3 The complaint alleges that Bailey represented to plaintiff that his
credit was not good enough to finance the entire purchase price and, therefore,
he would have to pay at least $BOOO down. lgir 1 16. However, plaintiff sought
and obtained approval from defendant Associates for a $47,900 loan for a 1998
Freightliner from Southland Truck Center. lgé, 11 19-20. Plaintiff wanted to
purchase the tractor from Star, however, because the sale price of $46,500 was
lower than the $47,900 from Southland. lg$, 11 21-23. For reasons that are not
clear, plaintiff submitted an application to finance $46,500 from Associates, and
he also paid $8000 down. l§i: 11 21, 23-28. Plaintiff contends that, after his
$8000 down payment, the total amount financed should have been $38,500, not
including the finance charge of $9704.36. lgé, 1 31. Instead, Star and Bailey
allegedly increased the cash sale price to $54,500 by adding the $8000 down
payment to the amount financed. l§;r 1 33, 37-42. For reasons that are not
explained, the bill of sale, which was submitted by plaintiff and which bears his
signature, clearly reflects a purchase price of $54,500. lgé, 11 43-44 & Ex. D.

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they also represented that the truck had its original engine, id;,
?3. Defendant Bailey allegedly told plaintiff that the only thing
wrong with the truck was that it needed a rear brake, which Bailey
said he would install. ld;, 1 75.

One day after purchasing the truck, plaintiff picked up
a load for Day Spring Transport and the fan clutch went out after
one mile. lgé, 1 78. Bailey replaced the fan clutch at his expense.
ld;, 1 79. After obtaining the truck from the shop in June, 2000,
plaintiff picked up another load from Day Spring Transport, and his
truck broke down after driving it five miles. ld¢, 1 80. Bailey
refused to repair the truck. ldé, 1 81. Plaintiff paid $83.44 on or
about June 26, 2000 to have the truck repaired. ld;, 1 82. The
plaintiff went back to work, and the truck again broke down before
it had left the lot belonging to Day Spring Transport. As a result,
Day Spring fired the plaintiff. ld;, 1 83.

On or about July 3, 2000, Jennings paid $24.36 to have
his truck repaired. ld;, 1 86. He then picked up a load from
Southland Transportation, but his truck broke down after two miles
of operation. ldé, 1 87. Once again, Bailey refused to repair the
truck._ld;, 1 88. Plaintiff paid $48.16 on or about July 6, 2000 to
repair it. ld;, 1 89. He picked up another load from Southland
Transportation, but could not complete the delivery because a front
right spring broke on the truck. ld¢, 1 91. On or about July 12,
2000, plaintiff paid $427.59 to repair the truck because Star and
Bailey refused to honor the warranty. ld;, 1 92. In August of 2000,
Jennings picked up another load from Southland but could not

complete the delivery because his truck broke down again, resulting

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in his being fired by Southland. ld¢, 1 94. Star and Bailey refused
to fix the truck resulting in plaintiff paying $269.00 to make the
repairs. ld;, 11 95-96.

After the truck was repaired, Tango Transport contacted
the plaintiff on or about September 12, 2000 to start work. ld*, 1
97. Upon his arrival, Tango informed the plaintiff that his truck
would not pass inspection because it had a major oil leak from the
engine. ld*, 1 98. Since his truck could not pass inspection,
plaintiff lost his contract with Tango Transport. ld;, 1 99.

Because plaintiff was on the road when he learned his
truck did not pass inspection, he took the truck to Freightliner's
manufacturing plant in Shreveport, Louisiana for repairs.
Freightliner denied the repairs under the warranty. ld$, 1 100.
Jennings then drove the truck to Freightliner's facility in
Memphis, which also denied the repairs under the warranty. ;dé, 1
101. The Freightliner representative explained that the warranty
had been voided because the engine in plaintiff's truck was not the
original one. ld;, 1 102. Defendants Star and Bailey still refused
to fix the truck. ld$, 1 103. Plaintiff later learned from
Southland Kenworth that the truck had no warranty and it had been
in an accident. ldé, 1 105. Plaintiff asked Star to rescind the
contract, but it refused to do so. ld;, 11 106-07. Plaintiff then
parked the truck because he could not afford to continue making
repairs. ld;, 1 108.

After his purchase of the truck, plaintiff made his
monthly payments of $1501.57 to Associates on June 20, 2000; July
20, 2000; and August 20, 2000. lgé, 11 49, 85, 93. Because the

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warranty had been dishonored and Star refused to fix the truck,
plaintiff discontinued making payments. lgé, 11 50, 53.3
Plaintiff, through counsel, filed a lawsuit against Star
and Bailey in the Shelby County (Tennessee) Circuit Court on or
about January 29, 2001 on theories of breach of contract, breach of
warranty, fraud, misrepresentation, and violation of the Tennessee
Consumer Protection Act, captioned Jennings v. Star Truck & Trailer
Salesl et al., No. CT-000527-01. §ee Compl., 1 113. Once it was
served, Associates demanded that plaintiff pay the entire
$51,?00.25 net balance under the security agreement. ld*, 1 114. On
or about March, 2001, defendant CitiCapital filed a counterclaim
against plaintiff for the sum of $6?,5?0.65, which it contends was
the amount due under the security agreement. ld;, 1 115. A bench
trial commenced on March 8, 2004. ldé, 1 116. On May 18, 2004, the
state-court judge entered his findings of fact for CitiCapital,
which stated in pertinent part as follows:
l. William Jennings (Jennings) and Star Truck and
Trailer Sales, Inc. (Star) entered into a Security
Agreement (Conditional Sale Contract) for the sale of a
1998 Freightliner on May 18, 2000.
2. The Security Agreement was assigned by Star to
Associates Capital Corporation n/d/b/a CitiCapital
Commercial Corporation (CitiCapital) on May 22, 2000, as

set out in the Seller’s Agreement.

3. Both the Security Agreement . . . and the Bill
of Sale . . . were misrepresented by Jennings and Star to

 

3 Although the allegations are not clear, it appears plaintiff also
contends that Star and Bailey illegally sold the security agreement to
CitiCapital on May 22, 2000, thereby making a second profit on the truck. lgg,
11 57-70, 76-77. According to the findings of fact in the state lawsuit,
Associates is now doing business as Citicapital. Lgé, Ex. N, at l (“The Security
Agreement was assigned by Star to Associates Capital Corporation n/d/b/a
CitiCapital Commercial Corporation (CitiCapital) on May 22, 2000."). Thus, it
appears that Associates and CitiCapital are one and the same.

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CitiCapital that a $10,500.00 credit for a trade-in of a
1993 Cadillac Sedan Deville was a portion of the buyer’s
(Jennings’) down payment. The down payment made by the
buyer was $8,000.00 rather than $18,500.00 as
represented.

4. Douglas Bailey represented to Plaintiff that
there was a $1000,000 mile factory warranty on unit
remaining. This was evidenced by the writing on the Bill
of Sale, and testified to and by the Plaintiff. After
purchase of said truck, the Plaintiff had numerous
problems and could not complete any attempted deliveries.
In September 2000, Plaintiff learned the truck did not
have the promised warranty. Upon learning there was no
warranty, Mr. Jennings immediately parked the truck and
sought rescission of the contract. He did cease making
payments on the truck at that time because the Defendant
had materially breached the sales contract by not
providing the promised 100,000 mile factory warranty. The
Plaintiff testified he was told by Southland Kenworth the
truck had no warranty on the engine and he at that time
parked the truck. The Plaintiff had purchased said truck
expecting a warranty for 100,000 miles. Considering the
amount of time actually left on the warranty, the
Defendant, Douglas Bailey, misrepresented alnaterial term
in the contract.

5. The recovery and sale of the 1998 Freightliner
occurred in a commercially reasonable manner .

6. After all credits, the balance due CitiCapital
as of July 30, 2001 was $21,536.34[.]

7. The Security Agreement . .. provides the buyer
(Jennings) agrees to pay Seller (Star or its assignee,
CitiCapital) upon acceleration, interest at l% percent
per month (18% per annum).

8. Under Statement of Additional Covenants . . .,
Buyer warrants and agrees that the collateral was
delivered to and accepted by Buyer in satisfactory

condition.
9. Also, as referenced in Statement of Additional
Covenants, Buyer agrees: “after assignment of this

agreement by Seller, the assignor will not be the
assignee’s agent for any purpose and Buyer's obligations
and liabilities hereunder to the assignee (CitiCapital)
will be absolute and unconditional and will not be
subject to any abatement, reduction, recoupment, defense,
set-off or counter claim available to buyer for breach of
warranty for any reason whatsoever.” . . . “The term

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‘Seller' shall include any assignee of Seller who is the
holder of this agreement.” . .

lO. Also, in Paragraph B, Buyer agrees: “to pay all
expenses incurred by Seller in enforcing its rights after
the occurrence of an event of default hereunder,
including the reasonable fees of an attorney retained by
the Seller (20% of all sums then owing hereunder if
permitted by law).”

ll. The assignor (Star), in the Seller's Agreement

. warrants to Assignee (CitiCapital) that the “Buyer

has paid the down payment in cash or as otherwise set
forth in the Security Agreement and no part thereof was

loaned directly or indirectly by Assignor . . . . The
documents are and will continue free from defenses,
counter claims, cross-claims and set-off. . . .”

12. Assignor in said Seller's Agreement, agrees:
“If any of the foregoing warranties are untrue,
regardless of Assignee’s knowledge thereof or lack of
reliance thereon, . . . Assignor hereby unconditionally
agrees to . . . purchase the documents on written demand
from Assignee for the balance remaining unpaid
thereunder, plus any expense of collection, . . . and
reasonable attorneys’ fees . . . incurred by Assignee

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ld;, Ex. N. According to plaintiff, the state-court judge ordered
Star and Bailey to repurchase the security agreement from
CitiCapital and pay the total amount due of $39,023.84 and the case
would continue between plaintiff, Associates, and Bailey. ld;, 1
136.

In June, 2004, plaintiff sought to have his attorney
removed from the case because the attorney failed to obtain
plaintiff's copy of the security agreement, which he had used at
the trial but which was not entered into evidence, and which the
plaintiff contends differs materially from the copy of the security
agreement introduced by CitiCapital. Plaintiff also sought to have
his attorney removed because she stipulated to what he contends was

an incorrect outstanding balance. Id., 1 13?. The state-court judge

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denied the plaintiff's motion on June 25, 2004. ld¢, 1 138. On
August 4, 2004, defendants asked that plaintiff's complaint be
dismissed because he had misrepresented that part of the
downpayment reflected a $10,500 credit for a trade-in of a 1993
Cadillac Deville. According to Jennings, the state judge dismissed
the complaint without prejudice. The judgment, which was entered on
August 12, 2004, ig;, 1 140, does not mention that the dismissal
was without prejudice. lt states as follows:

This cause came to be heard upon the Complaint filed
on behalf of William Jennings against the Defendants,
Star Truck & Trailer Sales, The Associates and Douglas C.
Bailey, Individually. The Answer of Defendants Star
Truck & Trailer Sales and Douglas C. Bailey, the Answer
of Associates Commercial Corporation, the Counter-
Complaint of Associates Commercial Corporation against
William Jennings, the Cross-Complaint of Associates
Commercial Corporation against Star Truck & Trailer
Sales, Inc., the -Answer of William, Jennings to the
Counter-Complaint, the Answer of Star Truck & Trailer
Sales, Inc. to the Cross-Complaint, the Stipulation of
the parties, the sworn testimony of the parties, William
Jennings and Douglas C. Bailey, the worn testimony of the
witnesses, John Tatum and Andy Braddley [sic], the
statements and arguments of counsel, the Proposed
Findings of Fact submitted on behalf of all parties and
upon the entire record in this cause from all of which
the Court finds that Plaintiff, William Jenninos.
actively participated in the submission of fraudulent
documents to Associates Capital Corporation and that he
totally failed to minimize his damages, accordingly the
Oridinal Complaint should be dismissed.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT
THE Original Complaint be and the same hereby is
dismissed and costs are adjudged against the Defendants,
Star Truck & Trailer Sales.
Id., Ex. Q (emphasis added). After the complaint was dismissed,
plaintiff's attorneys filed a motion to withdraw, which was
allegedly granted on August 26, 2004. Id., 1 142. Plaintiff filed

a pro §e_ motion for a new trial on September 13, 2004, and

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defendant Green filed a response in opposition on behalf of Star
and Bailey on October 8, 2004. ldi, 1 142. Defendant Green filed a
response for defendants Associates and CitiCapital on October ll,
2004. ld;, 1 149. The matter came on for a hearing on November 18,
2004, at which time plaintiff requested an extension of time to
obtain the documents from his attorneys so he could prove he did
not actively participate in the submission of fraudulent documents
to CitiCapital. ld¢, 11 150-152. The judge denied the plaintiff's
motions, ig;, 11 153-55, telling him that “he was going to do him
a favor and deny his motion for a new trial because he did not want
the Plaintiff to get into anymore trouble, ggé, 1 154 (emphasis
omitted). An order to that effect was entered on November 24, 2004.
ld;, 1 159. Plaintiff's appeal was dismissed due to his failure to
post a bond. lgé, 1 163 & Ex. W.

The complaint in this action asserts the following claims
for relief: (I) against Bailey pursuant to RICO for falsifying
information on the security agreement pertaining to the down
payment, Compl., 1 164; (ii) against Star and Bailey pursuant to
the Tennessee Consumer Protection Act (“TCPA”), Tenn. Code Ann. §
41-18-101 et segy, and RICO for altering and forging security
agreements and for unlawfully selling the security agreement to
CitiCapital for the purpose of illegally financing the same truck
twice, Compl., 11 165, 166; (iii) against Star, Bailey, and
Associates under RICO for robbing him of his $8000 down payment by

failing to subtract it from the amount financed, id., 11 167, 168:

 

(iv) against Associates, CitiCapital, and Stone pursuant to RICO

for conspiring to bring a counterclaim against plaintiff in order

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to collect an unlawful debt of $72,0?5.36 under a counterfeit
security agreement, igp, 1 169; (v) against Star, Bailey, and Green
pursuant to RICO for conspiring with Associates, CitiCapital, and
Stone to collect an unlawful debt of $72,075.36 under a counterfeit
security agreement, igp, 1 110; (vi) against Associates and
CitiCapital for negligence in failing to protect plaintiff from
intentional acts and omissions, which constitutes a violation of
the TCPA, fraudulent misrepresentation, breach of contract, and
fraud, ggp, 1 171; (vii) against Star and Bailey pursuant to the
TCPA for failing to disclose that the truck had been in a wreck
and/or was reconstructed, for failing to make repairs under the
warranty, for misrepresenting that the engine was original to the
truck, and for ndsrepresenting that the engine and truck were
covered by a factory warranty, ldp, 1 172; (viii) against
Associates, Star and Bailey for breach of the security agreement,
igp, 1 173; (ix) against Star and Bailey for breach of contract and
breach of warranty, idp, 11 174-76; and (x) against Star and Bailey
for fraud, idp, 1 177. Jennings seeks the institution of criminal
charges under RICO and under 18 U.S.C. §§ 892 & 894 against the
defendants, rescission of the security agreement, and monetary
damages.

According to the Sixth Circuit, “a district court may not
ppg sponte dismiss a complaint where the filing fee has been paid
unless the court gives the plaintiff the opportunity to amend the
complaint.” Apple v. Glenn, 183 F.3d 477, 478 (6th Cir. 1999) (per
curiam); see also Benson v. O'Brian, 179 F.3d 1014 (6th Cir. 1999);

Tingler v. Marshall, 716 F.2d 1109, 1112 (6th Cir. 1983). There is

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an exception to this general rule, however, that permits a district
court to dismiss a complaint “for lack of subject matter
jurisdiction pursuant to Rule l2(b)(1) of the Federal Rules of
Civil Procedure when the allegations of a complaint are totally
implausible, attenuated, unsubstantial, frivolous, devoid oflnerit,
or no longer open to discussion.” gpplp, 183 F.3d at 478 (citing
Hagans v. Lavine, 415 U.S. 528, 536-31 (1974)).

Plaintiff's claims against each of the defendants, with
the exception of Green and Stone, have already been litigated in
the Shelby County Circuit Court action. Moreover, plaintiff's
claims against Green and Stone are, in essence, challenges to the
outcome of the Circuit Court lawsuit. “A fundamental precept of
common-law adjudication, embodied in the related doctrines of
collateral estoppel and res judicata, is that a ‘right, question or
fact distinctly put in issue and directly determined by a court of
competent jurisdiction . . . cannot be disputed in a subsequent
suit between the same parties or their privies.’” Montana v. United
§papp§, 440 U.S. 147, 153 (1979); §pp_a1§p A11pp_yp_Mpgpp;y, 449
U.S. 90, 94 (1980) (“Under res judicata, a final judgment on the
merits of an action precludes the parties or their privies from
relitigating issues that were or could have been raised in that
action. . . . Under collateral estoppel, once a court has decided
an issue of fact or law necessary to its judgment, that decision
may preclude relitigation of the issue in a suit on a different
cause of action involving a party to the first case.”); ln_£p

Fordu, 201 F.3d 693, 702-03 (6th Cir. 1999) (explaining that the

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doctrine of collateral estoppel is now referred to as “issue

preclusion”).

“Courts apply the doctrine of ppg judicata to promote the
finality of judgments, which in turn increases certainty,
discourages multiple litigation and conserves judicial resources.”
Sanders Confectionerv Prods., Inc. v. Heller Fin., Inc., 913 F.2d
4?4, 480 (6th Cir. 1992). To apply the doctrine of ppg judicata, or

claim preclusion, four elements must be satisfied:

l. A final judgment on the merits in the first action
by a court of competent jurisdiction;

2. The second action involves the same parties, or
their privies, as the first;

3. The second action raises an issue actually

litigated or which should have been litigated in
the first action;
4. An identity of the causes of action.

Although application of the doctrine is complicated by
the fact that the complaint filed by the plaintiff in state court
is not part of the record, it appears that he sued Star, Bailey,
and Associates. The claims against Star and Bailey included breach
of contract, breach of warranty, fraud, misrepresentation, and
breach of the TCPA. Compl., 1 113. It would appear, therefore, that
the claims asserted against Star and Bailey in state court largely
parallel those brought against those parties in the instant
complaint, except that the present complaint also includes RICO
claims. Moreover, although the complaint asserts that plaintiff's
state-court action against Star and Bailey was dismissed without
prejudice, the state-court judgment says nothing of the sort and,

instead, appears to adjudicate those claims on the merits. See

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§pp;a p. 8. Accordingly, it would appear that, with the exception
of the RICO claims, each of the claims plaintiff maintained against
Star and Bailey is barred by pps judicata.4 Similarly, although the
matter cannot be definitively resolved on the record currently
before the Court, it seems likely that, with the exception of the
RICO claims, each of the claims plaintiff asserted against
Associates is barred by pps judicata.

Moreover, the new allegations asserted in the instant
action appear to be barred by collateral estoppel or issue

preclusion.

The Sixth Circuit has established a four-part test for
determining whether and when collateral estoppel bars
relitigation of an issue:

l) the precise issue raised in the present case must have
been raised and actually litigated in the prior
proceeding:

2) determination of the issue must have been necessary to
the outcome of the prior proceeding;

3) the prior proceeding must have resulted in a final
judgment on the merits; and

4) the party against whom estoppel is sought must have
had a full and fair opportunity to litigate the issue in
the prior proceeding.

 

4 Although the plaintiff presumably would contend that the state-court
decision was unfair, the Sixth Circuit has, on numerous occasions, rejected
similar arguments made by plaintiffs seeking to avoid application of ppg
judicata, reasoning that any argument the plaintiff may have about procedural
decisions made in the original lawsuit should have been made in that case, either
at the trial court level or on appeal. See, e.g., Qualitv Measurement Co. v.
IPSOS S.A., 56 Fed. Appx. 639, 634 (6th Cir. Jan. 8, 2003) (“RSC is essentially
arguing that it should get a new trial simply because the first one was not fair.

The purpose of res judicata is to preclude exactly this sort of case;
parties cannot relitigate an issue or claim simply because they believe the court
or jury reached an incorrect result in the first case. The law provides finality
to the parties by insisting they raise complaints about litigation while the case
is pending. RSC should have raised the issue of unfairness in the first action,
and it may not do so now.”); Hatts v. Federal Express Corp., 53 Fed. Appx. 333
(6th Cir. Dec. 13, 2002), cert. denied, 540 U.S. 1006 (2003}; Rainey Bros.
Constr. Co. v. Memphis § Shelbv County Bd. of Adiustmepp, No. 97-5897, 1999 WL
220128 (6th Cir. Apr. 5, 1999) (per curiam); Perry v. Croucher, No. 97-3033, 1998
WL 66151, at *4 (6th Cir. Aug. 31, 1998).

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United States v. Cinemark U.S.A.. Inc., 348 F.3d 569 (6th Cir.

2003), cert. denied, 124 S. Ct. 2905 (2004). Pursuant to this

 

doctriner “[a] final judgment on the merits of an action precludes
the parties or their privies from relitigating issues that were pp

could have been raised in that action.” Federated Dept. Stores,

 

Inc. v. Moitie, 452 U.S. 394, 398 (1981) (emphasis added).

These elements appear to have been satisfied as they
relate to plaintiff's RICO claims against Star, Bailey, and
Associates. The plaintiff's state-court lawsuit involved
contentions arising out of the plaintiff's purchase of the tractor
from Bailey, the alleged misrepresentations concerning the
condition of the tractor and the warranty, the alterations in the
security agreement, and the refusal by Star, Bailey and Associates
to pay for repairs to the tractor. Plaintiff's claims against Star
and Bailey appear to have been dismissed on the merits. Jennings is
not entitled to litigate any issue that was resolved in that
action, and he also is not permitted to obtain relief on the
subject-matter of that complaint by recasting his claims as new
legal theories.

Likewise, although it does not appear that the plaintiff
asserted any claim against CitiCapital in the Shelby County Circuit
Court, the state court found for CitiCapital in its assertions
against plaintiff for the amount due under the security agreement.
In particular, the state court determined that plaintiff was a
party to the ndsrepresentation in CitiCapital’s version of the
security agreement that a $10,500 credit for a vehicle trade-in was

a portion of the plaintiff's down payment, see supra p. 6; see also

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§pppa p. 8 (“the Court finds that Plaintiff, William Jennings,
actively participated in the submission of fraudulent documents to
Associates Capital Corporation”), and that, “[a]fter all credits,
the balance due CitiCapital [under the security agreement] as of
July 30, 2001 was $21,536.34,” ppg _spp£a p. 8. Under these
circumstances, it appears that plaintiff's clainl against
CitiCapital and Stone under RICO for conspiring to bring suit on a
counterfeit security agreement is barred by collateral estoppel. It
also appears that plaintiff's claim against Associates and
CitiCapital for failing to protect the plaintiff from
misrepresentations is precluded. Finally, by virtue of the state-
court's factual findings, plaintiff would appear to be estopped
from asserting a RICO claim against Green for conspiring with
Associates, CitiCapital, and Stone to collect under the so-called
counterfeit security agreement.

Accordingly, the plaintiff is ORDERED, within thirty (30)
days of the date of entry of this order, to show cause why this
action should not be dismissed for the reasons set forth herein.
The plaintiff's response must be typed or hand printed on 8b by 11
inch paper, one side to a sheet. He must personally sign the
response. The response may, at the plaintiff's option, take the
form of an amendment to the complaint. A failure timely to respond
to this order will result in the dismissal of the complaint in its
entirety and without prejudice, pursuant to Fed. R. Civ. P. 41(b),

for failure to prosecute.

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IT rs so 0RDERED this 23 day of July, 2005.

  

 

   

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D sTATEs DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 4 in
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William Jennings
4378 Windward St.
Memphis7 TN 38109

Honorable J. Breen
US DISTRICT COURT

